        Case 2:02-cr-00287-JAM Document 162 Filed 05/27/05 Page 1 of 2


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 3   Telephone: (916) 447-8262
 4   Attorney for Defendant: CHRIS M. EVANS
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )       Crim. S-02-287 FCD
                                                   )
12                                    Plaintiff,   )
                                                   )       STIPULATION
13                       v.                        )          AND
                                                   )      ORDER THEREON
14   CHRIS M. EVANS,                               )
                                                   )
15                                  Defendants     )
                                                   )
16
                                        FACTUAL PREMISE
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           The defendant herein, Chris McKinney Evans, has completed the sentence
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     imposed by this court in the above captioned matter. Following release from custody he
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     has obtained employment as the Vice President for Corporate Development of Coolid
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     Corporation in Reston, Virginia. A shareholder in this corporation, Michael Milan, is
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     a convicted felon. Although Mr. Evans does not deal directly with Mr. Milan nor is he
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     supervised in any way by Mr. Milan his probation officer expressed a concern over the
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     relationship, (Mr. Milan and Mr. Evans have the same probation officer) and requested
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     that the judges who sentenced the defendants acknowledge their agreement that Mr.
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     Evans employment does not violate the terms of his supervised release. Two of the three
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     judges involved have made such an order, a copy of Judge Nickerson’s order is attached.
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        Case 2:02-cr-00287-JAM Document 162 Filed 05/27/05 Page 2 of 2


 1         Counsel for the defendant has discussed this matter with the government who have
 2   no objection to this court making a similar order.
 3         IT IS HEREBY STIPULATED between counsel for the defendant and the
 4   government that the defendant, Chris McKinney Evans, in his capacity as Vice President
 5   of Corporate Development of Coolid Corporation, maybe permitted to associate, with
 6   Michael Milan.
 7   Dated: May 10, 2005                                  Dated: May 10, 2005
 8         /s/                                                  /s/
 9   STEVEN D. BAUER                                      ROBERT M. TWISS
     Attorney For Defendant                               Assistant United States Attorney
10
11 For Good Cause Appearing
   IT IS SO ORDERED
12 Dated: May 27, 2005
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14
     /s/ Frank C. Damrell Jr.
15   FRANK C. DAMRELL, JR.
     U.S. District Judge
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